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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                    NO. 4:13CR00167-02 JLH

DANIEL GLENN CAPLE                                                                   DEFENDANT

                                             ORDER

          On July 14, 2014, the Court entered an order setting a deadline of July 23, 2014, for

counsel for the government or defendant to dispute the findings in the forensic evaluation report, to

file a motion for hearing, or motion in opposition to the report, including a concise statement of

opposition to the report and supporting authorities.

       No opposition to the report has been filed. Therefore, the conclusions stated in the report

are adopted as the conclusions and findings of the Court.

       IT IS SO ORDERED this 24th day of July, 2014.




                                                       _________________________________
                                                       J. LEON HOLMES
                                                       UNITED STATES DISTRICT JUDGE
